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                                 THE UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH


    TAMRA STEPHENSON,                                    ORDER TAKING
                                                         UNDER ADVISEMENT
                              Plaintiff,                 DEFENDANTS’ MOTION FOR
                                                         JUDGMENT ON THE PLEADINGS
    v.

    MIDLAND CREDIT MANAGEMENT                            Case No. 4:21-cv-00020-DN-PK
    and TIM BOLIN,
                   Defendant.                            District Judge David Nuffer


           After reviewing Defendants’ Motion for Judgment on the Pleadings (“Motion”); 1

Plaintiff’s Memorandum in Opposition to Motion for Judgment on the Pleadings

(“Opposition”); 2 and Defendants’ Reply in Support of their Joint Motion for Judgment on the

Pleadings (“Reply”), 3

           IT IS HEREBY ORDERED that the Motion is taken under advisement.

           IT IS FURTHER ORDERED that on or before July 30, 2021, Defendants shall,

consistent with DUCivR 54-1(b), submit a draft order to dj.nuffer@utd.uscourts.gov, and file a

PDF version under the event “Notice of Filing.” The draft order shall:

           a. grant the Motion in part, and deny the Motion in part, dismissing the First Cause of

                Action without prejudice for failure to state a claim, on the basis that the letters

                attached to the Opposition and attached to Defendant’s Answer to Plaintiff’s




1
    Docket no. 15, filed May 18, 2021.
2
    Docket no. 20, filed June 1, 2021.
3
    Docket no. 23, filed June 15, 2021
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                Complaint, 4 and referenced in the Complaint, 5 and alleged related conduct, do not

                violate the Fair Debt Collection Practices Act, on the grounds argued in the Motion

                and Reply; and

           b. dismissing the other cases of action without prejudice due to lack of subject matter

                jurisdiction over those state law claims after the cause of action raising a federal

                question is dismissed.

           IT IS FURTHER ORDERED that the draft order shall be created using the template at

https://www.utd.uscourts.gov/sites/utd/files/order3.docx, and may follow the examples given in

the Proposed Order section of https://www.utd.uscourts.gov/judge-nuffer-chambers. Specific

examples of orders granting motions for judgment on the pleadings are:

         63     MEMORANDUM DECISION AND WRITTEN ORDER on 21 Motion for
         Judgment on the Pleadings, 4:19-cv-00027-DN, Chilcoat v. San Juan County et al.
         102     MEMORANDUM DECISION AND ORDER Granting 64 San Juan County
         Defendants’ Motion for Judgment on the Pleadings, 2:17-cv-00082-DN, Young et al v.
         Young et al.
         66       MEMORANDUM DECISION AND ORDER granting 52 Motion for Judgment
         on the Pleadings, 2:16-cv-00744-DN, Hansen et al v. JP Morgan Chase Bank, N.A.
         et al.


           Signed July 12, 2021.

                                                   BY THE COURT


                                                   ________________________________________
                                                   David Nuffer
                                                   United States District Judge




4
    Docket no. 7, filed April 19, 2021.
5
    Docket no. 2, filed February 12, 2021.



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